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 The Dutch Protocol for Juvenile Transsexuals: Origins and
 Evidence
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     ABSTRACT
     It has been a quarter of a century since Dutch clinicians proposed puberty
     suppression as an intervention for “juvenile transsexuals,” which became
     the international standard for treating gender dysphoria. This paper reviews
     the history of this intervention and scrutinizes the evidence adduced to
     support it. The intervention was justified by claims that it was reversible
     and that it was a tool for diagnosis, but these claims are increasingly
     implausible. The main evidence for the Dutch protocol came from a lon-
     gitudinal study of 70 adolescents who had been subjected to puberty
     suppression followed by cross-sex hormones and surgery. Their outcomes
     shortly after surgery appeared positive, except for the one patient who
     died, but these findings rested on a small number of observations and
     incommensurable measures of gender dysphoria. A replication study con-
     ducted in Britain found no improvement. While some effects of puberty
     suppression have been carefully studied, such as on bone density, others
     have been ignored, like on sexual functioning.



 The use of Gonadotropin-Releasing Hormone agonist (GnRHa) drugs to suppress puberty in
 “juvenile transsexuals” was first proposed in print in the mid-1990s (Gooren & Delemarre-van
 de Waal, 1996). Developed by three clinicians at Utrecht and Amsterdam, this intervention
 became known as the Dutch protocol. It rapidly became standard practice in the treatment of
 adolescents diagnosed with gender dysphoria (HBIGDA, 2001). This intervention has been
 described in several manifestos by its proponents (e.g. de Vries & Cohen-Kettenis, 2012;
 Delemarre-van de Waal, 2014; Delemarre-van de Waal & Cohen-Kettenis, 2006) and subjected
 to brief critical commentaries (Byng et al., 2018; Laidlaw et al., 2019; Levine et al., 2022). The
 aim of this paper to provide an historical account of the invention of the Dutch protocol and
 a critical review of the evidence that has accumulated in the quarter of a century since it was
 proposed.
    Before proceeding, some definitions are in order. Gender dysphoria will be used here to
 describe a persistent desire to become the opposite sex (Zucker, 2010). Medical terminology has
 changed over time, from “gender identity disorder” and “transsexualism” (both introduced in
 the Diagnostic and Statistical Manual of Mental Disorders–III in 1980) to “gender dysphoria” (as
 renamed in the 2013 DSM–5) and “gender incongruence” (as renamed in the 2019 International
 Classification of Diseases–11). There is no need to dwell on these diagnostic criteria because the
 condition in practice is defined by the patient’s wish for endocrinological and surgical interven-
 tions. In the nomenclature of transgender medicine, “puberty blockers” denote GnRHa drugs
 (alternatively known as Luteinizing Hormone-Releasing Hormone agonists) which stop the
 production of sex hormones.1 Drugs in this class include triptorelin (branded Decapeptyl or

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 Gonapeptyl), which is used in the Netherlands and Britain, and leuprorelin (branded Lupron)
 in North America. GnRHa drugs are licensed to treat several medical conditions including
 precocious puberty in children; endometriosis and uterine fibroids in women; and advanced
 prostate cancer and sexual deviance in men. The drugs have never been licensed as a treatment
 for gender dysphoria.
    The paper begins by describing how puberty suppression was invented, primarily by the
 psychologist Peggy Cohen-Kettenis, in the 1990s. It reveals the gap between the protocol
 described in formal manifestos and actual clinical practice. The second section examines the
 rationale for this intervention, focusing on two claims—that GnRHa is reversible and that it
 serves as diagnosis—and two omissions—the association between gender dysphoria and homo-
 sexuality and the effect of GnRHa on sexual development. The third section traces the inter-
 national adoption of the Dutch protocol. The fourth section scrutinizes evidence from an early
 cohort of 70 adolescents subjected to puberty suppression at the Amsterdam clinic (de Vries
 et al., 2011, 2014). This cohort provides the only significant evidence that GnRHa followed
 by cross-sex hormones and surgery results in improved psychological function and reduced
 gender dysphoria. The evidence is less persuasive than it appears: the number of observations
 was considerably fewer than 70, the reported reduction in gender dysphoria depended on
 incommensurable scales, and the outcomes omit one patient who died because puberty sup-
 pression dictated a riskier vaginoplasty. The fifth section pursues the British study designed
 to replicate the Dutch one; it was withheld from publication for some years, presumably
 because puberty suppression in this sample failed to improve gender dysphoria or psychological
 functioning. The poor quality of American studies is also noted. The final section evaluates
 evidence for the side effects of GnRHa. The negative effect on the accrual of bone mass is
 well studied, while there is increasing evidence for negative effects on cognitive and emotional
 development and on sexual functioning.


 Origins of the Dutch protocol
 Transsexualism as a concept emerged in the mid-twentieth century, following the discovery of
 cross-sex hormones and advances in plastic surgery (Hausman, 1995). Novel physical interven-
 tions were justified by the new theoretical construct of “gender identity” invented by American
 psychologists and psychiatrists, most notably John Money (1994). Gender identity was conceived
 as developing in infancy (e.g. Green, 1968), but physical interventions for transsexuals under
 the age of 18 were vanishingly rare. Money in 1973 advised a doctor to prescribe testosterone
 to a 15-year-old girl and even to consider mastectomy—but he was unusually reckless and there
 is no evidence that his advice was followed (Gill-Peterson, 2018, pp. 163–164). Specialist clinics
 for children and adolescents with gender identity problems were founded in Toronto in 1975,
 in Utrecht in 1987, and in London in 1989. They provided counseling. Cross-sex hormones had
 to wait until the patient was referred to an adult clinic, at an age ranging from 16 to 18 (Bradley
 & Zucker, 1990). Surgeries were not performed under the age of 18 (Petersen & Dickey, 1995).
 Referrals of children were rare. The London clinic—the only specialized clinic for children with
 gender dysphoria in the United Kingdom—over its first decade accepted an annual average of
 14 patients (Di Ceglie, 2018). In its first seven years the Utrecht clinic averaged 9 per year
 (Cohen-Kettenis, 1994).
    Lowering the age of intervention was driven by the founder of the Utrecht children’s clinic,
 Peggy Cohen-Kettenis. She had established herself in the field of gender medicine in the 1980s,
 presenting research to international conferences of the Harry Benjamin International Gender
 Dysphoria Association (HBIGDA), which had been formed by clinicians and academics. She
 eventually became professor of psychology in the Department of Child and Adolescent Psychiatry
 at University Medical Center Utrecht (Everaerd et al., 2014). She was closely connected to cli-
 nicians at VU Medical Center Amsterdam (affiliated with Vrije Universiteit Amsterdam), which
 housed the country’s clinic for adult transsexuals.
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     Cohen-Kettenis believed that transsexuals would experience better outcomes if they started
 treatment before adulthood. By the mid-1990s, she was referring some patients aged 16 and 17
 to the Amsterdam clinic for endocrinological intervention prior to cross-sex hormones
 (Cohen-Kettenis, 1994). Males were given an antiandrogen, cyproterone acetate, which prevented
 erections and caused breast tissue to grow; females were given progestin to stop menstruation
 (Gooren & Delemarre-van de Waal, 1996). Johanna, for example, “fulfilled all necessary require-
 ments for early treatment”: she did not favor girly things (though neither did her sisters), she
 was fond of soccer, she never dated in school (perhaps not surprising given that she was homo-
 sexual), and her parents discovered her wearing a tight t-shirt to conceal her breasts (Cohen-Kettenis
 et al., 1998, p. 124). Brought to the clinic at 17, she was prescribed progestin for four months
 and then testosterone. Within two years Jaap (as Johanna had become) underwent mastectomy,
 hysterectomy, and oophorectomy, and obtained a new birth certificate. Evidence to support such
 early treatment came from the first 22 patients from the Utrecht clinic, interviewed in their
 twenties, from one to five years after surgery (Cohen-Kettenis & van Goozen, 1997; Kuiper &
 Cohen-Kettenis, 1988). They were compared to a larger group of transsexuals who had transi-
 tioned later in adulthood in previous decades (Kuiper and Cohen-Kettenis 1988). Her former
 patients showed better psychological functioning and “more easily pass in the desired gender
 role” (Cohen-Kettenis & van Goozen, 1997, p. 270). One problem with the comparison is that
 they had transitioned in a more tolerant era. Another is the fact that they were still young;
 most had no sexual partner. Moreover they had not reached an age at which they might regret
 their inability to conceive children. (This group has not since been followed up.) Cohen-Kettenis’
 initiative was praised by Money: he singled out her contribution to a conference in London as
 “the bravest” (1998, p. xviii).
     Cohen-Kettenis had two collaborators at Amsterdam. One was Henriette Delemarre-van de
 Waal, a pediatric endocrinologist. She had expertise using the new GnRHa drugs—developed
 in the 1980s—to treat precocious puberty and other conditions (e.g. Schroor et al. 1995). The
 other was Louis Gooren, a psychiatrist and endocrinologist who was installed as the world’s
 first professor of transsexuality in 1989. His inaugural professorial lecture was addressed by
 Cohen-Kettenis and by Money, who flew over from Johns Hopkins University (Nederlands
 Tijdschrift voor Geneeskunde 1989). Like the pioneering generation who created transsexualism,
 Gooren saw gender dysphoria as an intersex condition: “there is a contradiction between the
 genetic, gonadal and genital sex on the one hand, and the brain sex on the other” and therefore
 “we must provide them with reassignment treatment which meets their needs” (Gooren, 1993,
 p. 238). This hypothesis was apparently vindicated when he coauthored an article in Nature
 showing that the volume of the central subdivision of the bed nucleus of the stria terminalis
 in six male-to-female transsexuals was closer to the volume found in females than in males
 (Zhou et al., 1995). “Unfortunately,” as he recently acknowledged, “the research has never been
 replicated” (Gooren, 2021, p. 50; see also Kreukels & Burke, 2020).
     GnRHa was introduced as a treatment for gender dysphoria in two articles. Gooren and
 Delemarre-van de Waal (1996) proposed the “Feasibility of Endocrine Interventions in Juvenile
 Transsexuals.” More influential was a case study of the first “adolescent transsexual” treated
 with GnRHa (Cohen-Kettenis and van Goozen 1998). From the age of 5, FG “had made it
 very clear that I was supposed to be a boy” (FG, 2021, p. 131). It later transpired that FG was
 sexually attracted to women. FG’s father, an Italian with traditional views on gender, disapproved
 of his daughter’s masculinity, and serious conflict ensued. Extensive psychotherapy did not
 improve matters; FG wrote a suicide note at the age of 12. When FG was 13, Delemarre-van
 de Waal prescribed triptorelin.2 Three years later, around 1990, FG came to the Utrecht gender
 clinic, and Cohen-Kettenis was impressed by FG’s “boyish appearance” (Cohen-Kettenis, 2021,
 p. 115). The clinic provided therapy and introduced FG to other adolescent girls who identified
 as transsexual. (Whether FG was introduced to any adolescents who identified as lesbian is
 not recorded.) FG’s puberty suppression continued until the age of 18, when testosterone com-
 menced, followed by multiple surgeries: mastectomy, hysterectomy, oophorectomy, and
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 metaidoioplasty. Awaiting the last surgery at the age of 20, FG was “happy with his life” and
 “never felt any regrets”; gender dysphoria was apparently cured (Cohen-Kettenis & van Goozen,
 1998, p. 247).
     Puberty suppression remained exceptional for some years. By 2000, GnRHa had been admin-
 istered to only 7 children under the age of 16 (Cohen-Kettenis et al., 2000). The new treatment
 regime was codified at VU Medical Center in Amsterdam, where Cohen-Kettenis was appointed
 professor of medical psychology in 2002, moving with her clinic. The “Dutch protocol” was
 published in an influential article in 2006, supported financially by Ferring Pharmaceuticals, the
 manufacturer of triptorelin (Delemarre-van de Waal & Cohen-Kettenis, 2006, p. S137). GnRHa
 could be administered to transsexuals as young as Tanner stage 2—marked by the first growth
 of pubic hair and for girls by budding breasts and for boys by growing testicles—as long as
 they had reached the age of 12. The adolescent would usually then begin “to live permanently
 in the role of their desired sex” (Delemarre-van de Waal & Cohen-Kettenis, 2006, p. S132).
 After some years of puberty suppression, the youth would start cross-sex hormones at the age
 of 16 and then surgeries at the age of 18. Eligibility criteria for puberty suppression appeared
 strict. First, gender dysphoria should have begun early in childhood, and dysphoria should have
 worsened with the onset of puberty. Second, the patient should be psychologically stable, and
 not suffer from other mental health problems. Third, the patient should have support from their
 family. As the protocol was formalized, the number of children undergoing puberty suppression
 increased markedly. Between 2000 and 2008, GnRHa was prescribed to 111 children, about one
 per month (de Vries et al., 2011). One of them was Valentijn de Hingh, the subject of a tele-
 vision documentary (Nietsch, 2007). After a teacher was disconcerted by the boy’s passion for
 dolls, de Hingh at the age of 5 was diagnosed with gender dysphoria by Cohen-Kettenis (de
 Hingh, 2021). GnRHa was administered from the age of 12 in 2002.
     The protocol as published was not always strictly followed by the clinicians. The minimum
 age of 12 for puberty suppression was not observed in every case (de Vries, 2010, p. 104). De
 Hingh had regular endocrinological checkups from the age of 10, presumably so that puberty
 suppression could commence as soon as Tanner stage 2 was reached. Likewise, cross-sex hor-
 mones sometimes started before the age of 16, as young as 13.9 years (de Vries et al., 2011, p.
 2278). Family support was not essential, as the clinic administered GnRHa to a 14-year-old—who
 was institutionalized due to a physical handicap—against the parents’ objections (Cohen-Kettenis
 and Pfäfflin 2003). A British television documentary from the mid-1990s provides a glimpse of
 actual practice (Morse, 1996). The Wrong Body took three English young people to Amsterdam
 and Utrecht, to see transgender medicine at its most advanced. Fredd Foley, aged 13, met Gooren
 to learn about puberty suppression; this was around the time it was proposed in the medical
 literature (Gooren and Delemarre-van de Waal 1996). After returning to England and being
 refused GnRHa by the London clinic, Foley’s mother telephoned Gooren who agreed to write
 a three-month prescription of triptorelin. “If your child knows for sure he is transsexual,” he
 said, “I would not let puberty happen.” Gooren’s willingness to prescribe drugs for a child in
 another country, met briefly in front of the cameras, against the wishes of the child’s own psy-
 chiatrist, hints that the assessment process was not always as rigorous as portrayed in the
 published literature. As Cohen-Kettenis said in the documentary, “it’s very difficult to give exact
 criteria, in some cases you have the feeling that the adolescent has thought about it and knows
 pretty well what she or he is doing.”


 The Dutch protocol scrutinized
 The Dutch protocol comprised not just a drug (GnRHa) and a treatment regime (from age 12
 or Tanner stage 2) but also two discursive claims. The first was reversibility. The initial article
 declared GnRHa to be “fully reversible; in other words, no lasting undesired effects are to be
 expected” (Gooren & Delemarre-van de Waal, 1996, p. 72). The phrasing hinted at the lack of
 actual evidence. Suppressing puberty for a short time, on the order of months, might be expected
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 to have a negligible effect on a child’s development. Yet the Dutch protocol entailed suppression
 for up to four years (from age 12 to 16); for FG it lasted at least five years (from 13 to 18). It
 was implausible to claim that suppressing puberty for so many years would have no lasting
 effect if the child were to stop GnRHa and restart their natal sex hormones. On occasion this
 was acknowledged, as when Delemarre-van de Waal and Cohen-Kettenis’ (2006, p. S137) man-
 ifesto stated that “It is not clear yet how pubertal suppression will influence brain development.”
 Ten years later, however, Cohen-Kettenis still claimed that puberty suppression was “completely
 reversible” (Cohen-Kettenis, 2016; see also de Vries et al., 2016). The postulate of reversibility,
 however implausible, helped to avoid the question of whether a child aged 12 (or below) could
 give consent to this endocrinological experiment. HBIGDA’s Standards of Care warned that
 cross-sex hormones “are not, or are not readily, reversible” (HBIGDA, 1985, p. 83). By pro-
 nouncing GnRHa to be reversible, the Dutch protocol demarcated a boundary between one
 endocrinological intervention and another.
    The second claim was that puberty suppression was a diagnostic tool. The case study of FG
 described GnRHa as an “aid in diagnosis and treatment” (Cohen-Kettenis & van Goozen, 1998).
 This echoed the conception of cross-sex hormones as “both therapeutic and diagnostic in that
 the patient requesting such therapy either reports satisfaction or dissatisfaction regarding the
 results” (HBIGDA, 1985, p. 85). GnRHa was posited to provide space for therapeutic exploration
 of gender identity, without the pressure of the physical changes accompanying puberty
 (Delemarre-van de Waal & Cohen-Kettenis, 2006). This claim was plausible, though it was also
 plausible that stopping normal cognitive, emotional, and sexual development would impede such
 exploration. In the event, the Dutch clinicians found that the diagnostic test invariably yielded
 the same result: “none of the [54] patients who were selected for pubertal suppression has
 decided to stop taking GnRHa” (Delemarre-van de Waal & Cohen-Kettenis, 2006, p. S136). This
 might be explained by a rigorous selection process. An alternative explanation is that puberty
 suppression becomes a self-fulfilling prophecy. Subsequent experience in the Netherlands and
 in other countries confirms the fact that 96%–98% of children who undergo puberty suppression
 continue to cross-sex hormones (Brik et al., 2020; Carmichael et al., 2021; Wiepjes et al., 2018).
    The framing of GnRHa as diagnostic circumvented a problem recognized in the earliest
 articles. “Not all children with GID [Gender Identity Disorder] will turn out to be transsexuals
 after puberty,” acknowledged Cohen-Kettenis and Gooren (1999, p. 319). “Prospective studies of
 GID boys show that this phenomenon is more closely related to later homosexuality than to
 later transsexualism.” They cited three longitudinal studies of feminine boys (Green, 1987; Money
 & Russo, 1979; Zuger, 1984).3 The best known is Richard Green’s attempt at “studying pretrans-
 sexuals” by selecting a group of “sissy boys” (Green, 1987, p. 12). After fifteen years, to his
 surprise, only one out of 44 was contemplating transsexuality, whereas two thirds had become
 bisexual or homosexual men. Given such studies, Cohen-Kettenis concluded that “most GID
 children under 12 will not grow up to become transsexuals” (Cohen-Kettenis & van Goozen,
 1997, p. 246). These findings were downplayed in subsequent publications; the key manifestos
 for the Dutch protocol did not mention homosexuality and did not cite any study of feminine
 boys (Cohen‐Kettenis et al., 2008; Delemarre-van de Waal & Cohen-Kettenis, 2006). The assertion
 that “GID persisting into early puberty appears to be highly persistent” rested on slender evi-
 dence (Cohen‐Kettenis et al., 2008, p. 1895). The only relevant cited source described adolescents
 who had been first assessed at ages ranging from 13 to 18, a range extending well beyond early
 puberty (Smith et al., 2001). This source did not support the hypothesis that the probability of
 gender dysphoria persisting to adulthood jumped suddenly on the cusp of age 12, from under
 50% to virtually 100%. What is known is that most adolescents subjected to puberty suppression
 were homosexual. Of the first 70 adolescents referred to the Amsterdam clinic from 2000 to
 2008 and given GnRHa, 62 were homosexual while only 1 was heterosexual (de Vries et al., 2011).
    The crucial advantage of puberty suppression was creating “individuals who more easily pass
 in to the opposite gender role” (Delemarre-van de Waal & Cohen-Kettenis, 2006, p. 155). The
 emphasis was on external appearance, especially height. 4 That word appears 23 times in
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 Delemarre-van de Waal’s review of puberty suppression (Delemarre-van de Waal, 2014). There
 is one cursory reference to “loss of fertility.” The words orgasm, libido, and sexuality do not
 appear. This is curious because it was well known that men taking GnRHa for prostate cancer
 experience complete loss of erotic interest (Marumo et al., 1999). The drug is therefore licensed
 to chemically castrate men with sexual obsessions. Gooren was an early advocate for this usage.
 He warned that the side effects “may be very uncomfortable” for men with paraphilias (Gijs &
 Gooren, 1996, p. 279); no such warning accompanied his recommendation of the same drug
 for adolescents experiencing gender dysphoria. The Dutch clinicians did not ask whether blocking
 the normal development of erotic desire would affect their patients’ understanding of their own
 body and their interest in future sexual and romantic relationships.
    One significant disadvantage of puberty suppression for males was not mentioned in the 2006
 manifesto for the Dutch protocol, though it had been raised at a conference in the previous
 year (GIRES, 2005). Stopping sexual development meant the penis did not grow, and so “the
 genital tissue available for vaginoplasty may be less than optimal” (Cohen‐Kettenis et al., 2008,
 p. 1895). This made it more likely that the orifice would need to be lined with a portion of
 the patient’s intestine rather than the inverted penis (van de Grift et al., 2020). Out of 49 patients
 at Amsterdam who started GnRHa at Tanner stage 2 or 3, 71% required intestinal vaginoplasty
 (van der Sluis et al., 2021). This procedure is more invasive, requiring a second surgical site,
 and it entails greater risk of complications such as rectal fistula. Surgical techniques have been
 refined so that the “possible occurrence of intestinal discharge could be kept under control”
 (Bouman, 2021, p. 141), but one quarter of the patients need further corrective surgeries (Bouman
 et al., 2016).


 International adoption of the Dutch protocol
 The Dutch protocol immediately attracted interest in other countries. Cohen-Kettenis and Gooren
 were already prominent in the field of transgender medicine, exemplified by their election to
 the Board of Directors of HBIGDA (the former served two four-year terms from 1995 and 2003,
 while the latter served one term from 1999). Puberty suppression soon entered HBIGDA’s
 Standards of Care in the Sixth Version, approved in 2001. It closely followed the Dutch protocol,
 but did not specify any minimum age. It was “recommended that the adolescent experience the
 onset of puberty in his or her biologic sex, at least to Tanner stage Two,” while also allowing
 earlier intervention on the recommendation of more than one psychiatrist (HBIGDA, 2001, p.
 10). Recall that the published evidence for the benefits of puberty suppression then comprised
 a single case study of one patient—FG—awaiting final surgery.
    In the United States, adoption was led by Norman Spack, a pediatric endocrinologist. More
 than once he recalled “salivating” at the prospect of treating patients with GnRHa (Hartocollis
 2015; Spack 2008, xi). In 2007 he cofounded the Gender Management Service at Boston Children’s
 Hospital, which was the first dedicated clinic for transgender children in America. Its program
 was based on the Dutch model; the hospital sent a psychologist to Amsterdam to be trained
 by Cohen-Kettenis (Tishelman et al., 2015). From the outset the Boston clinic offered GnRHa
 at Tanner stage 2 or 3 with no minimum age (Spack et al. 2012). Spack joined Cohen-Kettenis,
 Gooren, and Delemarre-van de Waal on the Endocrine Society’s committee tasked with writing
 their first clinical guidelines for “transsexual persons,” which recommended GnRHa for children
 at Tanner stage 2 or 3 (Hembree et al., 2009). “There was an attitudinal shift to be able to say
 that the Endocrine Society supports this,” he later recalled (Ruttimann, 2013, p. 19). The shift
 is visible in data from 43 children’s hospitals on prescriptions of one GnRHa drug (histrelin
 acetate): it was never prescribed for gender dysphoria between 2004 and 2009 and was then
 prescribed to 92 patients from 2010 to 2016, most in the final years of the period (Lopez
 et al., 2018).
    Oprah Winfrey Television broadcast the documentary I Am Jazz: A Family in Transition in
 2011 (Stocks, 2011). Its dramatic structure was similar to The Wrong Body, focusing on the
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 looming threat of puberty as Jazz Jennings reached the age of 11. Jennings had been diagnosed
 with gender dysphoria at the age of 3 and had appeared on national television at the age of 7,
 when the family created the TransKids Purple Rainbow Foundation (Jennings & Jennings, 2016).
 The documentary showed the family consulting with a pediatric endocrinologist, who confirmed
 that Tanner stage 2 had been reached. The denouement was not shown, but Jenning’s mother
 was clear: “you have to kinda nip puberty in the bud, you want to block it” (Stocks, 2011).
 Jennings did indeed commence puberty suppression some months later. The number of clinics
 for “gender-nonconforming children and adolescents” multiplied, and within a few years 32 of
 them advertised puberty blockers (Hsieh & Leininger, 2014).
    England provides an example of adoption driven by patients rather than clinicians. The Wrong
 Body had promoted the Dutch approach to 3 million viewers (Nataf, 1999). Dissatisfaction at
 the cautious policy of the London clinic—still headed by its founder, Domenico Di Ceglie—
 became increasingly vocal. Sustained pressure came from the parents of children who identified
 as transgender, organized in the Gender Identity Research and Education Society (GIRES) and
 Mermaids. GIRES obtained funding from medical charities to organize an international sympo-
 sium in London in 2005 to develop consensus guidelines for endocrinological intervention, which
 was attended by Cohen-Kettenis, Delemarre-van de Waal, and Spack. GIRES (2006) warned that
 “those who can in any way afford to do so have to consider taking their children to the USA.”
 The first was Susie Green, later the chief executive of Mermaids. In 2007 she took her son
 Jackie, aged 12, to Boston to obtain GnRHa from Spack (Sloan, 2011). A presentation at Mermaids
 instructed parents in this medical tourism (Mermaids, 2007). Spack treated seven more British
 children over the next few years (Glass, 2012). The conflict between parents and clinicians
 climaxed in 2008, with two clashing conferences. The Royal Society of Medicine organized a
 meeting on adolescent gender dysphoria, which drew criticism for the lack of overseas speakers
 advocating for puberty blockers, even though it had invited Delemarre-van de Waal. The
 cofounder of GIRES, whose child had transitioned in their late teens two decades earlier, used
 the new epithet “transphobic” to describe the cautious clinicians (Groskop, 2008). Richard
 Green—the author of Sissy Boys, then in London as a visiting professor—quickly organized a
 rival conference to demand puberty suppression (Green, 2008). Speakers included the usual cast
 of clinicians, including Spack, and also patients and their parents, including two Dutch trans-
 gender adolescents. The demand for puberty suppression was becoming irresistible.
    Di Ceglie was soon replaced as director of the London clinic (renamed the Gender Identity
 Development Service and located at the Tavistock and Portman NHS Foundation Trust) by Polly
 Carmichael, a clinical psychologist. The clinic in 2011 began to offer GnRHa from the age of
 12, initially as part of an experimental study (Biggs, 2019b, 2019c). Before any outcomes were
 published, Carmichael declared success: “Now we’ve done the study and the results thus far have
 been positive we’ve decided to continue with it” (Manning and Adams, 2014). She even appeared
 on BBC Children’s Television to promote puberty suppression, in a documentary about a 13-year-
 old girl who wanted to be a boy, Leo. Carmichael reassured Leo about GnRHa: “the good thing
 about it is, if you stop the injections, it’s like pressing a start button and the body just carries
 on developing as it would if you hadn’t taken the injection” (Niland, 2014). In 2015 the National
 Health Service adopted a policy of offering GnRHa for adolescents at Tanner stage 2, without
 age restriction (NHS England, 2015).


 Evidence from the Amsterdam clinic
 By the mid-2010s, then, the Dutch protocol was established as the standard for transgender
 medicine. It was apparently vindicated when longitudinal data was published on a cohort of 70
 adolescents referred to the clinic between 2000 and 2008 and then subjected to puberty sup-
 pression. The lead author, Annelou de Vries, received her doctorate under the supervision of
 Cohen-Kettenis. Outcomes were initially measured as the patient was transitioning from GnRHa
 to cross-sex hormones, at ages ranging from 14 to 19. “Behavioral and emotional problems and
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  depressive symptoms decreased, while general functioning improved” (de Vries et al., 2011, p.
  2276). Outcomes were subsequently measured soon after the patient’s final surgery (vaginoplasty
  or mastectomy and hysterectomy with oophorectomy), at ages ranging from 19 to 22. The authors
  concluded that “gender dysphoria had resolved, psychological functioning had steadily improved,
  and well-being was comparable to same-age peers” (de Vries et al., 2014, p. 696).
      When scrutinized, however, the evidence is less persuasive. The sample was small: final out-
  come measures were available for subsets of patients numbering between 32 and 55. The finding
  that gender dysphoria had resolved depended on the Utrecht Gender Dysphoria Scale and the
  Body Image Scale, which have separate questionnaires for each sex. The researchers switched
  versions over the course of the study (Levine et al., 2022). A boy who wanted to become a girl,
  for example, answered the male questionnaires at baseline before puberty suppression, and then
  the female versions following surgery—so would be rating agreement with the statement “I hate
  menstruating because it makes me feel like a girl” (C. Schneider et al., 2016) and satisfaction
  with “ovaries-uterus” (Lindgren & Pauly, 1975). The inclusion of such meaningless questions
  compromises the measurement of change in gender dysphoria. The results after surgery exclude
  eight patients who refused to participate in the follow-up or were ineligible for surgery, and
  one patient killed by necrotizing fasciitis during vaginoplasty. The authors did not mention the
  fact that this death was a consequence of puberty suppression: the patient’s penis, prevented
  from developing normally, was too small for the regular vaginoplasty and so surgery was
  attempted with a portion of the intestine, which became infected (Negenborn et al., 2017). A
  fatality rate exceeding 1% would surely halt any other experimental treatment on healthy teenagers.
      One inevitable limitation of the study was the measurement of results soon after surgery,
  which repeated the problem with the first study of adolescent transsexuals (Cohen-Kettenis &
  van Goozen, 1997). As Cohen-Kettenis notes, “a truly proper follow-up needs to span a mini-
  mum period of 20 years” (Cohen-Kettenis, 2021, pp. 117–118). A subsequent follow-up of this
  cohort is in preparation (Bazelon, 2022). The only long-term outcome published in the literature
  is that of the very first patient, FG, who was followed up again at the age of 35. FG did not
  regret transition, but scored high on the measure for depression. Owing to “shame about his
  genital appearance and his feelings of inadequacy in sexual matters,” he could not sustain a
  romantic relationship with a girlfriend (Cohen-Kettenis et al., 2011, p. 845). Ironically, a “strong
  dislike of one’s sexual anatomy” is one of the diagnostic criteria for gender dysphoria in children
  (according to DSM-5), and so in this respect it is not clear how the dysphoria had been resolved.
  The clinicians were more interested in FG’s height, which they compared punctiliously to the
  Italian as well as the Dutch height distribution. Cohen-Kettenis concluded that “the negative
  side effects are limited” (Cohen-Kettenis et al., 2011, p. 843). Delemarre-van de Waal’s (2014,
  p. 194) summary was even more optimistic: “He was functioning well psychologically, intellec-
  tually, and socially.” Now aged 48, FG has given two recent interviews. FG’s situation seems to
  have improved, and he now has a serious girlfriend. He describes puberty suppression as
  “life-saving” in his case (FG, 2021, p. 132) but also recommends that it should require a sig-
  nificant assessment process (Bazelon, 2022). In a recent interview, Valentijn de Hingh, who at
  the age of 31 now identifies as non-binary, emphasizes that “diagnosis and treatment at a young
  age were not wrong.” At the same time, de Hingh wonders “wasn’t that very young? To have
  been seeing a psychologist, having been examined and diagnosed from the age of five” (de
  Hingh, 2021, p. 182).


  Replicating the Dutch results
  An international study of puberty suppression—involving London and Boston as well as
  Amsterdam—was first mooted in 2005 (GIRES, 2005). The Boston clinic dropped out, but
  eventually an experiment along Dutch lines was begun in London in 2010. The entry criteria
  were “consistent with the protocol used at the Amsterdam Gender Clinic” (Viner et al., 2010,
  p. 6) and the outcome measures replicated those used by the Amsterdam longitudinal study (de
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  Vries et al., 2011, 2014). From 2011 to 2014, 44 adolescents aged from 12 to 15 years commenced
  puberty suppression. Outcomes for all subjects after two years on GnRHa were thus collected
  by 2016. Preliminary results were presented to the World Professional Association for Transgender
  Health (as HBIGDA had been renamed) in Amsterdam. In her keynote address, Carmichael
  observed that “our results have been different to the Dutch” (Carmichael, 2016). According to
  one presentation, adolescents after one year of GnRHa “report an increase in internalising prob-
  lems and body dissatisfaction, especially natal girls” (Carmichael et al., 2016). Another presentation
  was also negative: “Expectations of improvement in functioning and relief of the dysphoria are
  not as extensive as anticipated, and psychometric indices do not always improve nor does the
  prevalence of measures of disturbance such as deliberate self harm improve” (Butler, 2016).
  These conference papers were not published as articles, following the typical fate of medical
  experiments that fail to produce positive results (Johnson & Dickersin, 2007).
     Instead, the London clinic published an article claiming that “adolescents receiving also puberty
  suppression had significantly better psychosocial functioning after 12 months of GnRHa …
  compared with when they had received only psychological support” (Costa et al., 2015, p. 2206).
  The group subjected to puberty suppression were aged between 13 and 17, and must have
  included some of the 44 experimental subjects. This group comprised 101 adolescents at the
  outset, diminishing to 35 after twelve months. This high rate of attrition was not explained in
  the article. Anyway, the data showed no statistically significant difference between the group
  given GnRHa and counseling and the group given only counseling (Biggs, 2019a).
     The full outcomes from the experiment were published following a protracted campaign
  involving publicity in newspapers and television (e.g. Tominey & Walsh, 2019), complaints to
  the ethics committee which approved the research (Health Research Authority, 2019), a
  Parliamentary question (Blackwood of North Oxford, 2019), and a judicial review (Keira Bell
  and Mrs A v Tavistock NHS Trust, 2020). Out of the 44 subjects in the experiment, all but one
  transitioned to cross-sex hormones. Outcomes were taken after 12 months of puberty suppression
  for all patients, and after 24 months for the subset waiting to reach the age of 16 when they
  could start cross-sex hormones. The headline finding was that “GnRHa treatment brought no
  measurable benefit nor harm to psychological function in these young people,” and gender
  dysphoria likewise did not improve (Carmichael et al., 2021, p. 20). This is all the more sur-
  prising because a placebo response would be expected in patients who had volunteered to pioneer
  this intervention in Britain (Kirsch, 2019). There was no disaggregation by sex, which is unfor-
  tunate because outcomes were evidently worse for natal girls than for boys (Biggs, 2020;
  Carmichael et al., 2016).
     The researchers did not compare their findings to the outcomes from the Amsterdam clinic
  after puberty suppression (de Vries et al., 2011). Comparison is undertaken here, using available
  data on two question batteries.5 The Youth Self-Report (YSR) enables the adolescent to describe
  their problems, while the Child Behavior Checklist (CBCL) provides a parent’s assessment. YSR
  and CBCL each yield three T-scores: one for Internalizing Problems like anxiety; one for
  Externalizing Problems like anger; and a Total Problem score, combining these two along with
  other problems such as social isolation (Achenbach & Rescorla, 2001). T-scores are normalized
  relative to reference scores (for males and for females aged 12–18), with a mean of 50 and
  standard deviation of 10. The Amsterdam clinic reported these measures for 54 subjects, com-
  pared to 41 for the London clinic. The two samples were similar at the outset of puberty sup-
  pression: the mean age at Amsterdam was 14.8, the median at London was 13.6; females
  comprised 53% of the Amsterdam sample, 43% of the London one. Figure 1 depicts the mean
  scores at baseline before the commencement of puberty suppression, along with the 95% con-
  fidence interval. There was no discernible difference between the Amsterdam and London samples
  in any component of CBCL or YSR. At the Amsterdam clinic, the subjects completed the ques-
  tionnaires again when they transitioned to cross-sex hormones, after a mean of 1.9 years. At
  the London clinic, the questionnaires were completed at 12-month intervals, and so I take the
  latest available before the end of puberty suppression; the mean duration is 1.4 years. Figure 2
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  Figure 1. Psychological functioning before puberty suppression with GnRHa. The circle shows the mean T-score at baseline.
  The line traces the 95% confidence interval. N = 54 at Amsterdam, 41 at London. Data from de Vries et al. (2011, Table 2) and
  Carmichael et al. (2021).




  Figure 2. Change in psychological functioning after puberty suppression with GnRHa. The bar shows the change in T-score
  from baseline; negative values indicate reduced problems. The line traces the 95% confidence interval. N = 54 at Amsterdam,
  41 at London. Data reported from de Vries et al. (2011, Table 2) and Carmichael et al. (2021).


  shows how the scores changed since baseline. The Amsterdam sample improved—fewer problems
  were reported by the subjects and their parents—on all six measures (p = .000004 … .003). The
  London sample, by contrast, experienced no discernible change (p = .16 … .82). With one
  exception (YSR Externalizing Problems), the differences between the change in Amsterdam and
  the change in London are statistically significant (p = .0006 … .03, assuming equal variance).
     The London clinic’s failure to replicate the positive results found by the Amsterdam clinic
  after puberty suppression demonstrates that the Dutch results cannot be extrapolated to other
  countries. The reason for the failure to replicate could perhaps lie in the quality of care offered
  by the clinics or in the characteristics of their patients. Although the two samples had indistin-
  guishable baseline scores on YSR and CBCL, on another measure of psychological functioning—the
  Children’s Global Assessment Scale (CGAS), which is scored by the clinician—the adolescents
  attending the London clinic were significantly worse at the outset. This fits the general pattern
  in adolescents referred to European gender clinics: those at Amsterdam have fewer psychological
  problems and better peer relationships than those at London (de Graaf et al., 2018). The failure
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  to replicate could simply exemplify a general phenomenon in medicine (and science generally):
  a large effect found in a nonrandomized study with a small sample usually either declines in
  magnitude or disappears altogether in subsequent studies (e.g. Ioannidis, 2005). Given the London
  clinic’s failure to find favorable results after puberty suppression, it has no incentive to follow up
  the 43 subjects who transitioned to cross-sex hormones and potential surgery. It loses track of
  all its patients after the age of 18, blaming “the frequent change in nominal and legal identity,
  including NHS number in those referred on to adult services” (Butler et al., 2018, p. 635).
      One other clinic has published a comparable longitudinal study of puberty suppression. The
  Hamburg Gender Identity Service followed 11 adolescents who were administered GnRHa for
  an average of one year, but such a tiny sample provides insufficient statistical power for any
  conclusions (Becker-Hebly et al., 2021). Three American studies of puberty suppression have
  been published: from Stony Brook (Achille et al., 2020), Dallas (Kuper et al., 2020), and Seattle
  (Tordoff et al., 2022).6 None tried to replicate the Amsterdam and London longitudinal studies,
  choosing completely different measures, with one exception (BIS is used by Kuper et al., 2020).
  Each introduced a different set of measures: Quick Inventory of Depressive Symptoms, Screen
  for Child Anxiety Related Emotional Disorders, Center for Epidemiologic Studies Depression
  Scale, Quality of Life Enjoyment and Satisfaction Questionnaire, Generalized Anxiety Disorder
  7-item scale, and the Patient Health Questionnaire 9-item scale. The last scale was common to
  two studies, but even they were not comparable: one used the version for teenagers, the other
  the adult version which the researchers chose to dichotomize. All the samples were tiny: 19, 23
  (including an unspecified number of males given anti-androgens and females given medroxy-
  progesterone rather than GnRHa), and 25. Results were reported inconsistently: sometimes the
  outcomes for the sample subjected to puberty suppression were combined with a much larger
  sample on cross-sex hormones; sometimes the parameters of complex multivariate models were
  reported while the within-subject change during puberty suppression was concealed (Singal,
  2022). Finally, some results were vitiated by high—and unexplained—rates of attrition: 47% of
  the subjects in one study were excluded because they failed to fill in the questionnaires at three
  points in time (Achille et al., 2020). What is frustrating is that if these researchers had simply
  followed the methods of de Vries et al. (2011), these three small samples would have contributed
  to cumulative knowledge. Finally, a large-scale American study recruited 90 subjects for puberty
  suppression—from Boston, Chicago, Los Angeles, and San Francisco—between 2016 and 2018
  (Olson-Kennedy et al., 2019). Outcomes after 24 months have evidently been collected, but only
  baseline results have been published (Chen et al., 2021).


  Evidence on side effects
  On the side effects of puberty suppression, there is most evidence on bone density. That GnRHa
  would cause “an insufficient formation of bone mass” was initially dismissed “of no great con-
  cern” (Gooren & Delemarre-van de Waal, 1996, p. 72). Then it was recognized that patients
  could “end with a decreased bone density, which is associated with a high risk of osteoporosis”
  (Delemarre-van de Waal & Cohen-Kettenis, 2006, p. S134). The detrimental effect of GnRHa
  on the accrual of normal bone mass has been documented in several longitudinal studies from
  the Amsterdam clinic (Klink et al., 2015; Schagen et al., 2020; Stoffers et al., 2019; Vlot et al.,
  2017), the London clinic (Biggs, 2021; Joseph et al., 2019), and a clinic in Ottawa (Navabi et al.,
  2021). Less obviously, adolescents who seek GnRHa for gender dysphoria have a lower distri-
  bution of bone density compared to the population of the same sex and age (see also Lee et al.,
  2020). This reflects in part the high prevalence of eating disorders.
     Bone mineral density (BMD) is measured by a dual energy X-ray absorptiometry scan over
  the spine and the hip. The absolute value of BMD is standardized as a Z-score, expressing this
  individual’s BMD relative to the population of the same sex and age. BMD can be adjusted for
  height to derive the volumetric bone mineral apparent density (BMAD), which is likewise stan-
  dardized as a Z-score. A Z-score below −2 is considered low; it indicates bone density in the
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  lowest 2.3% of the population. The salience of this threshold is revealed by the London clinic’s
  protocol which required both spine and hip Z-scores to exceed −2 to be eligible for GnRHa
  (Viner et al., 2010). This was subsequently relaxed “in exceptional circumstances” if clinicians
  “feel that on the balance of risks, pubertal suppression is an appropriate option despite risks of
  osteoporosis in later adult life” and patients “understand the risks of GnRH analogue treatment
  for bone density (i.e. risks of later osteoporosis)” (Viner et al., 2012).
     Most studies of bone density after puberty suppression summarize the distribution of Z-scores
  by mean and standard deviation; only two provide information on the lower tail of the distri-
  bution, which is what matters clinically. At the Amsterdam clinic, 56 transgender adolescents
  were treated with GnRHa, commencing at ages ranging from 11 to 18, for an average duration
  of 1.7 years. After puberty suppression, the minimum Z-score for spine BMAD was −2.4, and
  the minimum hip BMAD was −3.4 (Vlot et al., 2017). Normally we would expect to find a
  Z-score below −3 in only 0.13% of the population—1 in 741. At the London clinic, 24 adoles-
  cents were treated with GnRHa, commencing at ages ranging from 12 to 14, for a duration of
  24 months. After puberty suppression, the hip BMD Z-score was below −2 for 7 patients. The
  spine BMD Z-score was below −2 for 7 patients, including 4 patients with Z-score below −3;
  the spine BMAD Z-score was below −2 for 8 patients, including 3 with Z-score below −3 (Biggs,
  2021). Clearly, then, a significant minority of patients have abnormally low bone density after
  puberty suppression. The subsequent administration of cross-sex hormones increases bone mass,
  but Z-scores remain below the baseline recorded at the outset of puberty suppression (Klink
  et al., 2015; Stoffers et al., 2019; Vlot et al., 2017), with the possible exception of females who
  take testosterone after starting GnRHa early in puberty (Schagen et al., 2020).
     What is not clear is the consequence of abnormally low bone density. Information on frac-
  tures, for example, has been published only for adults taking cross-sex hormones who had not
  undergone puberty suppression (Wiepjes et al., 2020). Anecdotally, a female patient at the London
  clinic who started GnRHa at age 12 then experienced four broken bones by the age of 16
  (Bannerman, 2019). A Swedish television documentary discovered one female who was given
  GnRHa from age 11 to 15 by the Karolinska University Hospital in Stockholm, and now suffers
  from severe osteoporosis, including continual skeletal pain (SVT, 2022). This case—along with
  two others whose puberty suppression was terminated following concerns about bone density—led
  Sweden to restrict the use of GnRHa for adolescents with gender dysphoria.
     The effects of puberty suppression on emotional and cognitive development are more difficult
  to ascertain, but more consequential as they could potentially affect the capacity to consent to
  cross-sex hormones and surgery. One case report of puberty suppression commencing just before
  age of 12 measured a drop in IQ by 10 points after 28 months (M. A. Schneider et al., 2017).
  A single case is insubstantial, of course, but there are similar findings from children treated
  with GnRHa for precocious puberty. A study of 25 children measured a drop of 7 points after
  two years (Mul et al., 2007); another study found a gap of 8 points between 15 treated children
  and a matched control group (Hayes, 2017; Wojniusz et al., 2016). Unfortunately the Amsterdam
  clinic’s longitudinal study of puberty suppression measured IQ only at baseline and did not
  measure it again (de Vries et al., 2011, 2014). A small study from the clinic found that 8 ado-
  lescent males undergoing puberty suppression performed worse in a test of executive functioning
  than three control groups; the differences are statistically significant, but the samples are small
  (Staphorsius et al., 2015). Randomized control trials of non-human animals provide evidence of
  the substantial effects of puberty suppression. In sheep, GnRHa impairs spatial memory, and
  this effect remains after the treatment is stopped—thus demonstrating the irreversibility of
  puberty suppression (Hough et al. 2017a; 2017b). Counterintuitively, GnRHa also leads to greater
  differences between males and females in foraging behavior (Wojniusz et al., 2011). In mice, the
  effects of GnRHa vary by sex: males develop stronger preference for other males and an increased
  stress response; females exhibit increased anxiety and despair-like behavior (Anacker et al., 2021).
     Even less is known about the effects of puberty suppression on sexual functioning. Jennings,
  who started on GnRHa at the age of 11, has no libido and cannot orgasm. Jennings’ surgeon,
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  Marci Bowers, who has performed over 2,000 vaginoplasties, acknowledges that “every single
  child … who was truly blocked at Tanner stage 2, has never experienced orgasm. I mean, it’s
  really about zero” (Bowers, 2022). This remark refers to males. The effects of puberty suppression
  at such an early stage on females is unknown. FG is reportedly able to orgasm (de Vries et al.,
  2011). One patient at the London clinic who took GnRHa from the age of 12 to 16 but did
  not continue to cross-sex hormones has experienced no sexual desire in the two years since
  ceasing GnRHa (Bannerman, 2022). According to de Vries, orgasm is “a very interesting and
  so far not studied question” (Klotz, 2022).


  Conclusion
  The use of GnRHa to suppress puberty has proved more popular than could have been envisaged
  in the mid-1990s. It has become the international standard for treating gender dysphoria and
  has attracted increasing numbers of patients. Down to 2015, the Amsterdam clinic administered
  GnRHa to a total of 333 youth aged under the age of 18 (Wiepjes et al., 2018). From 2012 to
  2020, the London clinic administered GnRHa to 344 children under the age of 15. Both clinics
  were overwhelmed by referrals from the mid-2010s, and the lengthening waiting lists provided
  scope for unscrupulous commercial operations. GenderGP, for example, is a company registered
  in Singapore and owned by a Welsh doctor which will diagnose a 9-year-old with gender dys-
  phoria over video and prescribe GnRHa on the same day (Medical Practitioners Tribunal Service,
  2022). The total number of patients subjected to puberty suppression, worldwide, must run to
  several thousand. The proponents of GnRHa never reassessed the rationale for the intervention
  as the numbers multiplied. It is one thing to assert that very rare cases of extreme gender
  dysphoria—one per year in the Netherlands in the late 1990s—should be treated as juvenile
  transsexuals. It is another to make this claim for numerous adolescents—currently over a hun-
  dred a year in the Netherlands. Given the fact that gender dysphoria lacks an objective diagnosis,
  the potential for puberty suppression is expansive. When a recent survey in one American school
  district found 7% of students identifying as “gender diverse,” the authors urged that all receive
  “access to gender affirming care,” which in effect means giving GnRHa on request (Kidd et al.,
  2021, p. 3).7
      Whether the availability of puberty suppression has increased demand is a question that
  should be raised. Taking GnRHa early in puberty promises a more passable resemblance to the
  opposite sex, and this is why it proved so fascinating to television audiences. It is no coincidence
  that media coverage of transgender youth focuses on those who suppressed puberty at a young
  age, most famously Jennings. Positive media coverage is known to increase referrals to gender
  clinics, at least over the short term (Indremo et al., 2022; Pang, de Graaf, et al., 2020). Although
  Dutch clinicians advise against “a complete social transition … before the very early stages of
  puberty” (de Vries & Cohen-Kettenis, 2012, pp. 308–309), the availability of GnRHa now makes
  it feasible for parents to treat a young child as the opposite sex, which guarantees that the child
  will experience the onset of puberty as catastrophic and thus demand endocrinological inter-
  vention. For boys, social transition prior to puberty is a powerful predictor of gender dysphoria
  persisting into adolescence, even controlling for the degree of dysphoria in childhood (Steensma
  et al., 2013). This pathway is illustrated by interviews with 30 British parents who had started
  raising their children as the opposite sex between the ages of 3 and 10. According to one parent,
  “If you don’t give a child puberty-blockers there is a consequence—it’s not that nothing happens.
  There’s a massive consequence” (Horton, 2022, p. 13). Another candidly described their child’s
  attitude to counseling at the gender clinic: “at the end of the day, he’s just gonna say whatever
  it is, that makes you shut up, so that he can get the blocker” (Horton, 2022, p. 14).
      What has happened to the majority of children with gender dysphoria who used to grow up
  into gay or lesbian adults? The original articles promoting GnRHa (Cohen-Kettenis & van
  Goozen, 1998; Gooren & Delemarre-van de Waal, 1996) hypothesized that children whose dys-
  phoria persisted to the age of 12 were destined to become transsexual. This arbitrary age threshold
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  was soon forgotten. Outside the Netherlands, GnRHa was adopted with no minimum age, and
  has been prescribed to children as young as 8 years old.8 Delemarre-van de Waal eventually
  advocated for GnRHa to be administered before Tanner stage 2, “right at the onset of puberty,”
  followed quickly by cross-sex hormones (Delemarre-van de Waal, 2014, p. 202). And of course
  the transsexual pathway now begins long before puberty, with social transition and psychological
  diagnosis. As de Hingh observes, “a diagnosis says you’ve got a problem that needs to be treated
  … The medical process, with pills and protocols, takes over the normal process of identification
  formation” (de Hingh, 2021, pp. 182–183). Clinicians need to explain how they are sure that
  some of the adolescents being prescribed GnRHa would not have grown into gay or lesbian
  adults, with their sexuality and fertility intact.
      The article that introduced puberty suppression to the medical literature was accurately titled:
  this endocrinological intervention is designed for juvenile transsexuals (Gooren & Delemarre-van
  de Waal, 1996). This fact should not be obscured by claiming that puberty suppression is
  reversible and diagnostic. It is not diagnostic because over 95% of adolescents given GnRHa
  will continue to cross-sex hormones, and this fraction has not declined even as the number of
  youths subjected to GnRHa has multiplied by two orders of magnitude. The claim for revers-
  ibility was contradicted from the outset by the unknown effect of puberty suppression on brain
  development. Irreversibility has now been demonstrated by randomized control trials in non-
  human animals. The central justification for puberty suppression was that it increases outward
  resemblance to the opposite sex and requires less surgical intervention. Paradoxically, however,
  early puberty suppression for males will most likely make subsequent genital surgery more
  risky—this is what killed one of the initial Dutch cohort—with worse results.
      Evidence for the benefits of puberty suppression must be acknowledged as slender. Decisions
  made by clinicians have prevented the collection of robust evidence. The Dutch proponents of
  GnRHa chose not to conduct a randomized control trial, giving two reasons (de Vries et al.,
  2011). Firstly, adolescents would have refused to participate, which does not make sense unless
  they could have obtained GnRHa from another source. Secondly, it would have been unethical
  to withhold GnRHa from the control group, because the clinicians believed the treatment to be
  beneficial—this rationale is circular because discovering whether a treatment is truly beneficial
  requires a randomized control trial. A lesson can be drawn from the use of GnRHa to pause
  precocious puberty. This was supposed to mitigate short stature, as was apparently shown by
  small uncontrolled studies (Hayes, 2016), but this effect was called into question by a randomized
  control trial (Cassio et al., 1999). When the London clinic designed a study to replicate the
  findings from Amsterdam, the same reasons for avoiding a randomized control study were
  repeated, along with an argument that subjects would soon realize whether they were receiving
  treatment or placebo (Viner et al., 2010). Yet this had been no impediment to the trial for
  children with early puberty.
      The decision to rely on uncontrolled studies was exacerbated by other decisions. The Dutch
  clinicians chose incommensurable scales to measure gender dysphoria, which calls into question
  their finding that dysphoria declined following cross-sex hormones and surgery. Worse still,
  American clinicians eschewed the measures of psychological functioning used by the Amsterdam
  and London clinics (YSR, CBCL, and CGAS), thus ensuring that their tiny samples could not
  contribute to cumulative knowledge. One final point to remember in evaluating published studies
  is that the field of transgender medicine is subject to the same publication bias as every other
  field: unsuccessful results will not be published. This bias is illustrated by the London clinic’s
  attempt to replicate the Amsterdam clinic’s findings: the lack of improvement on GnRHa appeared
  in print only after the clinic was taken to the High Court of Justice for England and Wales.
      While the use of GnRHa to suppress puberty helped to create the juvenile transsexual, it
  could now be creating another “new way of being a person” (Wren, 2020): a sexless adult. This
  follows from the premise that natal puberty can be a kind of disease, and therefore failure to
  prevent an “irreversible development of secondary sex characteristics … may be considered
  unethical” (de Vries et al., 2011, p. 2282). Although the Dutch protocol envisages GnRHa as a
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  preparatory phase before cross-sex hormones—imagined as undergoing puberty of the opposite
  sex—the logical conclusion is that hormones of either sex can be treated as vectors of disease.
  An Australian girl, Phoenix, was socially transitioned into a nonbinary identity at the age of 5
  and took GnRHa from age 11. Reaching the age of 16, Phoenix refused to take testosterone
  because “remaining in an androgynous, peripubertal state is the only way their body can truly
  reflect their non-binary gender identity” (Notini et al., 2020, p. 743). The clinicians agreed to
  provide perpetual puberty suppression, despite the known deleterious physical effects—most
  obviously on bone density—and despite the unknown effects on emotional and cognitive devel-
  opment—which would affect Phoenix’s capacity to consent. Phoenix is not the only individual
  seeking indefinite puberty suppression (Pang, Notini, et al., 2020). Such cases are still exceptional.
  But cases like FG also used to be exceptional.


  Notes
   1. The literature sometimes refers to GnRH (or LHRH) analogues, which is a broader classification compris-
      ing antagonists as well as agonists.
   2. The pediatric endocrinologist was not named in the original article, but her identity is clear from later
      sources (e.g. Delemarre-van de Waal, 2014). FG is known as “B” in the published literature.
   3. Bailey and Zucker (1995) had by then reviewed four additional prospective studies in the same vein as well
      as numerous retrospective ones. Later prospective studies demonstrated that girls who manifested cross-gender
      behavior as infants were also more likely to grow up as lesbian, though the association was weaker than
      for boys (e.g. Li et al., 2017).
   4. Pediatric endocrinology’s obsession with height has motivated the use of artificial estrogen to accelerate
      puberty in girls judged as too tall (Cohen & Cosgrove, 2009) and the use of GnRHa to delay puberty in
      girls judged as too short (Hayes, 2016).
   5. A previous comparison (Biggs, 2020) included only 30 subjects from the London clinic and measured outcomes
      after 12 months. The Stata do-file is posted on Harvard dataverse at https://doi.org/10.7910/DVN/QPRCR1.
   6. De Vries (2022) also cites a study from Kansas City (Allen et al., 2019) which includes an unknown num-
      ber of children subjected to GnRHa before cross-sex hormones, but it took no baseline measure before
      puberty suppression.
   7. The authors calculate the “gender diverse” proportion as 9% because they omit students who skipped the
      question (Kidd et al., 2021). It is more plausible to include the latter in the denominator, which yields 7%.
   8. The London clinic referred a 7-year-old for endocrinological intervention, but it is not known whether
      GnRHa was actually prescribed before she turned 8 (Butler et al., 2022).


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